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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 TQ Delta, LLC,
              Plaintiff,

 v.                                         Civil Action No.: 2:21-CV-00310-JRG

 CommScope Holding Company, Inc., et al.,   JURY TRIAL DEMANDED
            Defendants.


  TQ DELTA, LLC’S NOTICE OF AMENDED JOINT PRETRIAL ORDER EXHIBIT
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       TQ Delta hereby files its notice of amended exhibit A, which is TQ Delta’s updated witness

list to the Joint Pretrial Order (Dkt. No. 466).




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 Dated: March 12, 2023
                                              By: /s/ William E. Davis, III

                                              William E. Davis, III
                                              Texas State Bar No. 24047416
                                              bdavis@davisfirm.com

                                              Christian J. Hurt
                                              Texas State Bar No. 24059987
                                              churt@davisfirm.com

                                              Rudolph “Rudy” Fink IV
                                              Texas State Bar No. 24082997
                                              rfink@davisfirm.com

                                              Edward Chin
                                              Texas State Bar No. 50511688
                                              echin@davisfirm.com

                                              Ty Wilson
                                              Texas State Bar No. 24106583
                                              twilson@davisfirm.com

                                              THE DAVIS FIRM PC
                                              213 N. Fredonia Street, Suite 230
                                              Longview, Texas 75601
                                              Telephone: (903) 230-9090
                                              Facsimile: (903) 230-9661

                                              Peter J. McAndrews
                                              (Pro hac vice)
                                              pmcandrews@mcandrews-ip.com

                                              Rajendra A. Chiplunkar
                                              (Pro hac vice)
                                              rchiplunkar@mcandrews-ip.com

                                              Ashley Ratycz
                                              (Pro hac vice)
                                              aratycz@mcandrews-ip.com

                                              MCANDREWS, HELD & MALLOY,
                                              LTD.
                                              500 West Madison St., 34th Floor
                                              Chicago, IL 60661



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                                              Telephone: (312) 775-8000
                                              Facsimile: (312) 775-8100

                                              ATTORNEYS FOR PLAINTIFF TQ
                                              DELTA, LLC




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document and all attachments thereto are being

filed electronically in compliance with Local Rule CV-5(a). As such, this document is being

served this March 12, 2023 on all counsel of record, each of whom is deemed to have consented

to electronic service. L.R. CV-5(a)(3)(A).

                                                            /s/ William E. Davis, III
                                                            William E. Davis, III




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